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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------                  x
                                                    :
UNITED STATES OF AMERICA
                                                    :     PRELIMINARY ORDER OF
               - v. -                                     FORFEITURE/
                                                    :     MONEY JUDGMENT
ARI TEMAN,
                                                    :     S2 19 Cr. 696 (PAE)
                        Defendant.
                                                    :
----------------------------------                  x

               WHEREAS, on or about January 3, 2020, ARI TEMAN (the “Defendant”) was

charged in a six-count Superseding Indictment, S2 19 Cr. 696 (PAE) (the “Indictment”), with bank

fraud, in violation of Title 18, United States Code, Section 1344 (Counts One and Two); wire

fraud, in violation of Title 18, United States Code, Sections 1343 (Counts Three and Four); and

aggravated identity theft, in violation of Title 18, United States Code, Sections 1028A (a)(1),

1028A(b) and 2 (Counts Five and Six);

               WHEREAS, the Indictment included a forfeiture allegation as to Counts One and

Two of the Indictment, seeking forfeiture to the United States, pursuant to Title 18, United States

Code, Section 982(a)(2)(A), of any and all property constituting, or derived from, proceeds the

Defendant obtained directly or indirectly, as a result of the commission of the offenses charged in

Counts One and Two if the Indictment, including but not limited to a sum of money in United

States currency representing the amount of proceeds traceable to the commission of the offenses

charged in Counts One and Two of the Indictment;

               WHEREAS, the Indictment included a second forfeiture allegation as to Counts

Three and Four of the Indictment, seeking forfeiture to the United States, pursuant to Title 18,

United States Code, Section 981(a)(1)(C) and Title 28 United States Code, Section 2461(c), of any

and all property, real and personal, that constitutes or is derived from proceeds traceable to the
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commission of the offenses charged in Counts Three and Four of the Indictment, including but not

limited a sum of money in United States currency representing the amount of proceeds traceable

to the commission of the offenses charged in Counts Three and Four of the Indictment;

               WHEREAS, on or about January 29, 2020, the Defendant was found guilty,

following a jury trial, of Counts One through Four of the Indictment;

               WHEREAS, the Government asserts that $333,000.00 in United States currency

represents any and all property, real and personal, that constitutes or is derived from proceeds the

Defendant obtained, directly or indirectly as a result of the commission of the offenses charged in

Counts One and Two, and any and property, real and personal, that constitutes or is derived,

directly or indirectly, from proceeds traceable to the commission of the offenses charged in Counts

Three and Four of the Indictment, that the Defendant personally obtained;

               WHEREAS, the Government seeks a money judgment in the amount of

$333,000.00 in United States currency, pursuant to Title 18, United States Code, Section

982(a)(2)(A), of any and all property, real and personal, that constitutes or is derived from proceeds

the Defendant obtained, directly or indirectly as a result of the commission of the offenses charged

in Counts One and Two of the Indictment, and pursuant to Title 18, United States Code, Section

981(a)(1)(C) and Title 28, United States Code, Section 2461(c), of all property, real and personal,

that constitutes or is derived, directly or indirectly, from proceeds traceable to the commission of

the offenses charged in Counts Three and Four of the Indictment;

               WHEREAS, the Court finds that as a result of acts and/or omissions of the

Defendant, the proceeds traceable to the offenses charged in Counts One through Four of the

Indictment that the Defendant personally obtained cannot be located upon the exercise of due

diligence.
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               NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

               1.       As a result of the offenses charged in Counts One through Four of the

Indictment, to which the Defendant was found guilty following a jury trial, a money judgment in

the amount of $333,000.00 in United States currency (the “Money Judgment”), representing the

amount of proceeds traceable to the offenses charged in Counts One through Four of the Indictment

that the Defendant personally obtained, shall be entered against the Defendant.

               2.       Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant, ARI TEMAN, and

shall be deemed part of the sentence of the Defendant, and shall be included in the judgment of

conviction therewith.

               3.       All payments on the outstanding money judgment shall be made by postal

money order, bank or certified check, made payable, in this instance, to the United States Marshals

Service, and delivered by mail to the United States Attorney’s Office, Southern District of New

York, Attn: Money Laundering and Transnational Criminal Enterprises Unit, One St. Andrew’s

Plaza, New York, New York 10007 and shall indicate the defendant’s name and case number.

               4.       The United States Marshals Service is authorized to deposit the payments

on the Money Judgment in the Assets Forfeiture Fund, and the United States shall have clear title

to such forfeited property.

               5.       Pursuant to Title 21, United States Code, Section 853(p), the United States

is authorized to seek forfeiture of substitute assets of the defendant up to the uncollected amount

of the Money Judgment.

               6.       Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the

United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate
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or dispose of forfeitable property, including depositions, interrogatories, requests for production

of documents and the issuance of subpoenas.

               7.     The Court shall retain jurisdiction to enforce this Preliminary Order of

Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal

Rules of Criminal Procedure.

               8.     The Clerk of the Court shall forward three certified copies of this

Preliminary Order of Forfeiture/Money Judgment to Assistant United States Attorney Alexander

J. Wilson, Co-Chief of the Money Laundering and Transnational Criminal Enterprises Unit, United

States Attorney’s Office, One St. Andrew’s Plaza, New York, New York 10007.

Dated: New York, New York
       ______________ ___, 2021
                                                     SO ORDERED:


                                                     __________________________________
                                                     HONORABLE PAUL A. ENGELMAYER
                                                     UNITED STATES DISTRICT JUDGE
